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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  ABILENE DIVISION

 A.A.R.P., on his own behalf and on behalf
 of all others similarly situated, et al.,

         Petitioners-Plaintiffs,

 v.                                                            No. 1:25-CV-059-H

 DONALD J. TRUMP, in his official
 capacity as President of the United States, et
 al.,

          Respondents-Defendants.

                                             ORDER

        Before the Court is the petitioners’ motion for class certification and appointment of

 class counsel (Dkt. No. 3). The Court orders the respondents to respond to the motion by

 no later than Wednesday, April 23, 2025.     The Court further orders the petitioners to file

 their reply by no later than Friday, April 25, 2025.

         So ordered on April 18, 2025.


                                              Seawall.         Hokey
                                              / JAMES WESLEY HENDRIX’
                                                   UNITED STATES DISTRICT JUDGE
